                              Case 18-12388-CSS                      Doc 1        Filed 10/24/18             Page 1 of 15
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________     District of __________
 District of Delaware

                         18-
 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                 amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            Stripes US Holding, Inc.
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                  ✔
                                                       Federal Employer Identification Number (EIN)       3 ___
                                                                                                          ___  8 – 4___ 0___ 1___ 2___ 8   0 ___
                                                                                                                                       ___ ___ 0

                                                       Other ___________________________. Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Richard Heis
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             High Court of Justice of England and Wales (Part 26 of Companies Act 2006)
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                                 Foreign main proceeding
                                           ✔
                                                 Foreign nonmain proceeding
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               ✔
                                                 A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________
                                                  _______________________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the               ✔
     foreign representative(s)?
                                                 Yes




Official Form 401                                 Chapter 15 Petition for Recognition of a Foreign Proceeding                                   page 1
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Debtor          Stripes US Holding, Inc.
                _______________________________________________________                                                  18-
                                                                                                  Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        United States
                                        ______________________________________________                   1209 Orange Street
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Wilmington                         DE      19801
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region  ZIP/Postal Code


                                                                                                         United States
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 Festival House, 5th Floor, Jessop Avenue
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 Cheltenham
                                                                                                         _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Gloucestershire GL50 3SH
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 United Kingdom
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)             None
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:
                                         ✔
                                               Non-individual (check one):
                                                 ✔
                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




     Official Form 401                          Chapter 15 Petition for Recognition of a Foreign Proceeding                                      page 2
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Debtor        Stripes US Holding, Inc.
              _______________________________________________________                                               18-
                                                                                             Case number (if known)_____________________________________
              Name




12.   Why is venue proper in this      Check one:
      district?                        ✔
                                            Debtor’s principal place of business or principal assets in the United States are in this district.
                                            Debtor does not have a place of business or assets in the United States, but the following
                                             action or proceeding in a federal or state court is pending against the debtor in this district:
                                             ___________________________________________________________________________.

                                            If neither box is checked, venue is consistent with the interests of justice and the convenience
                                             of the parties, having regard to the relief sought by the foreign representative, because:
                                             ___________________________________________________________________________.



13.   Signature of foreign
      representative(s)                I request relief in accordance with chapter 15 of title 11, United States Code.

                                       I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                       relief sought in this petition, and I am authorized to file this petition.

                                       I have examined the information in this petition and have a reasonable belief that the
                                       information is true and correct.

                                       I declare under penalty of perjury that the foregoing is true and correct,


                                       8 /s/ Richard Heis
                                            ________________________________________________          Richard Heis
                                                                                                      _______________________________________________
                                           Signature of foreign representative                        Printed name


                                       Executed on         10/24/2018
                                                           __________________
                                                            MM / DD / YYYY



                                       8    ________________________________________________          _______________________________________________
                                           Signature of foreign representative                        Printed name


                                       Executed on         __________________
                                                            MM / DD / YYYY




14.   Signature of attorney
                                       8 /s/ Derek C. Abbott
                                            _________________________________________________ Date                  10/24/2018
                                                                                                                   _________________
                                            Signature of Attorney for foreign representative                       MM   / DD / YYYY


                                           Derek  C. Abbott
                                           _________________________________________________________________________________________________
                                           Printed name
                                           Morris, Nichols, Arsht & Tunnell LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           1201  N. Market Street, 16th Floor
                                           _________________________________________________________________________________________________
                                           Number         Street
                                           Wilmington
                                           ____________________________________________________ DE          19801
                                                                                                 __________________________________________
                                           City                                                            State         ZIP Code


                                           (302) 658-9200
                                           ____________________________________                            dabbott@mnat.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address




                                           3367                                                   DE
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




  Official Form 401                         Chapter 15 Petition for Recognition of a Foreign Proceeding                                    page 3
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                                              Counsel to the Foreign Representative
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                                                  Foreign Representative
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IN THE HIGH COURT OF JUSTICE                                 No. CR-2018-00
                                                                 CR-2018-008908
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BUSINESS AND PROPERTY COURTS OF ENGLAND AND WALES

COMPANIES COURT (ChD)



IN THE MATTER OF STRIPES US HOLDING, INC.

AND IN THE MATTER OF THE COMPANIES ACT 2006

On the 24th day of October 2018

Before Mr Justice Zacaroli



                             _______________________
                                                  __

                                     ORDER
                             _______________________
                                                  __




UPON THE APPLICATION OF Stripes US Holding, Inc. (“SUSHI”)
                                                  “SUSHI”) whose registered office
is 1209 Orange Street, Wilmington, Delaware 19801, with
                                                      h its primary business address at
10201 South Main Street, Houston, Texas, 77025, United States, by a Part 8 Claim Form
dated 19 October 2018 (the “Claim Form”)


AND UPON SUSHI proposing a scheme of arrangement pursuant to Part 26 of the
Companies Act 2006 (the “Scheme”) as a compromise or arrangement between SUSHI
and the Scheme Creditors (as defined in the Scheme)


AND UPON READING the Claim Form and the written evidence filed in these proceedings


AND UPON READING the scheme of arrangement (the “Scheme Document”) and the
explanatory statement in relation thereto given pursuant to section 897 of the Companies
Act 2006 (the “Explanatory Statement”)


AND UPON HEARING Mark Arnold QC and Adam Al-Attar for SUSHI


AND UPON the Court adopting in this order, save where terms are otherwise expressly
defined, the abbreviations, words, definitions and phrases contained in the Explanatory
Statement and the Scheme Document



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AND UPON SUSHI having appointed Richard Heis to act as the foreign representative
(“Foreign Representative”) in respect of the Scheme in any case under chapter 15 of title
11 of the Bankruptcy Code to obtain recognition of the Scheme as a “foreign non-main
proceeding”


AND UPON the Court being satisfied that Richard Heis has been validly appointed to act
as SUSHI’s Foreign Representative on any petition filed by SUSHI with the US Bankruptcy
Court or other court of competent jurisdiction for an order recognising the Scheme as a
“foreign non-main proceeding” under chapter 15 of the Bankruptcy Code and granting
related relief.


AND UPON the Court being satisfied that he Foreign Representative has been authorised
by SUSHI to take any and all actions to execute, deliver, certify, file, record and perform
under any and all documents, agreements, instruments, certificates, petitions, motions,
affidavits, or applications for approvals or rulings of governmental or regulatory authorities,
and to take any and all steps deemed by the Foreign Representative to be necessary or
desirable to carry out the purpose and intent of the Scheme including, without limitation,
filing any petition or motion for recognition of the Scheme under chapter 15 of the
Bankruptcy Code, the enforcement of any order of the English Court presiding over the
Scheme (including this order and the sanction order), and any other related relief under
chapter 15 of the Bankruptcy Code.


IT IS ORDERED AND DIRECTED THAT:


1.      SUSHI shall convene a meeting of the Scheme Creditors (the “Scheme Meeting”),
        to be held on 7 November 2018 (or such other date as the directors of SUSHI may
        decide and notify the Scheme Creditors) at the offices of Linklaters LLP, One Silk
        Street, London EC2Y 8HQ (or if such venue is not available, such other suitable
        venue in central London, as the directors of SUSHI may select and notify the
        Scheme Creditors) for the purpose of considering and, if thought fit, approving (with
        or without modifications) the Scheme.


2.      The Scheme Meeting convened pursuant to paragraph 1 of this order shall be held
        at 10.00am (London time).


3.      Within 2 days of the date of this order, copies of the document incorporating the
        Scheme Document and the Explanatory Statement (which appends the form of the
        New SEAG Facility), together with the notice convening the Scheme Meeting (the


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     “Notice”), and the form of proxy (the “Form of Proxy” and, together with the
     Scheme Document, the Explanatory Statement and the Notice, the “Documents”)
     shall, by the Information Agent, be uploaded to www.lucid-is.com/sushi and be sent,
     by email, to:


     (a)     the Agent in its capacity as agent under the Existing Facilities Agreement so
             that the Agent may: i) upload the Documents onto the designated data room
             on Debtdomain (the “Debtdomain Website”): and ii) ensure that:


             (1)     the Documents are available for the Scheme Creditors from the
                     moment they are uploaded onto the Debtdomain Website; and


             (2)     each of the Scheme Creditors is sent an email notifying them that the
                     Documents have been uploaded onto the Debtdomain Website.


4.   Copies of the Documents shall also be made available to any of the Scheme
     Creditors upon request to SUSHI through contacting Paul Kamminga of Lucid
     Issuer Services Limited (address: Tankerton Works, 12 Argyle Walk, London WC1H
     8HA; telephone: 020 7704 0880; email: steinhoff@lucid-is.com) and when so
     requested shall be provided free of charge.


5.   The Documents shall be in the form, or substantially in the form, of the drafts
     submitted to, and initialled by, the Court (subject to completion of blanks and minor
     modifications as advised by solicitors and Counsel to SUSHI).


6.   In order to vote on the Scheme, Scheme Creditors will be requested to lodge their
     completed and signed Form of Proxy with the Chair (as defined below) of the
     Scheme Meeting or, alternatively, return their completed signed Form of Proxy:


             (a)     by post to Lucid Issuer Services Limited, Tankerton Works, 12 Argyle
                     Walk, London WC1H 8HA, marked for the attention of Paul
                     Kamminga;


             (b)     by e-mail to steinhoff@lucid-is.com; or


             (c)     online via the Scheme website at www.lucid-is.com/sushi




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      as soon as possible and in any event to be received no later than 5.00pm (London
      time) on 5 November 2018.


7.    Unless the Court orders otherwise, the accidental omission to serve any Scheme
      Creditor with notice of the Scheme Meeting or the non-receipt of notice of the
      Scheme Meeting by any Scheme Creditor shall not invalidate the proceedings at
      the Scheme Meeting.


8.    Richard Heis, Chief Restructuring Officer for the Group, or, if for any reason he is
      unable so to act, Richard Hodgson of Linklaters LLP, shall be appointed to act as
      chair of the Scheme Meeting (the “Chair”) and shall report the results of the Scheme
      Meeting to the Court.


9.    The Chair shall be at liberty to adjourn the Scheme Meeting provided that, if
      adjourned, the Scheme Meeting recommence as soon as reasonably practicable
      thereafter.


10.   The Chair shall be at liberty to accept the Forms of Proxy sent by post, email,
      provided that they are legible to him.


11.   The Chair shall be entitled to rely on the signatures on the Form of Proxy, including
      one sent by e-mail, as a warranty that the signatory has been duly authorised by
      the relevant Scheme Creditor to sign the Form of Proxy on behalf of the Scheme
      Creditor.


12.   The Chair may, for voting purposes only, reject the value attributed to a Scheme
      Creditor’s claim if he considers that it does not constitute a fair and reasonable
      assessment of the relevant sums owed to the relevant Scheme Creditor under the
      Existing Facilities Agreement, or if the relevant Scheme Creditor has not complied
      with the applicable Form of Proxy.


13.   The Chair shall have the discretion to accept the value of the claim in respect of
      which a Scheme Creditor seeks to vote, in whole or in part, notwithstanding failure
      by such Scheme Creditor to comply with the requirements contained in its Form of
      Proxy, if sufficient information has been provided in its Form of Proxy, or by some
      other means to enable the Chair to accept the fairness of the value of the claim in
      respect of which such Scheme Creditor should be permitted to vote.




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14.   If the value of a claim is unascertainable or disputed (in part) but the Chair is able
      to place a minimum value on that claim, the Chair will admit the claim for voting
      purposes at that minimum value.


15.   If a claim is disputed in its entirety, or the Chair is otherwise unable to place a
      minimum value on it, that claim shall be valued at U.S.$1.


16.   The Chair shall be at liberty to permit the attendance of persons who are not
      otherwise entitled to attend and vote at the Scheme Meeting unless an objection is
      taken by (or by a person appointed to vote by proxy for) a Scheme Creditor entitled
      to attend and vote at the Scheme Meeting, provided that such a person shall not be
      entitled to speak at the Scheme Meeting without the permission of the Chair.


17.   The Chair shall file for the Court a report on the Scheme Meeting and the voting at
      the Scheme Meeting prior to the hearing of any application for sanction of the
      Scheme.


18.   The Chair and SUSHI shall have permission to apply for such further directions in
      this matter as he may consider necessary or appropriate.


19.   The Claim Form shall be adjourned generally with permission to SUSHI to restore
      it.


20.   If the Scheme is approved at the Scheme Meeting by the required statutory majority
      of the Scheme Creditors, the Claim Form shall be restored and a further Court
      hearing at which SUSHI shall seek the sanction of the Court for the Scheme shall
      be listed.


21.   There be permission to apply.


AND IT IS FURTHER ORDERED THAT:


22.   Pursuant to rule 5.4C(4) of the Civil Procedure Rules 1998 (as amended) the
      following documents on the court file shall be sealed against inspection save with
      permission of the court (with any application for such to be made on 3 clear business
      days’ written notice to SUSHI’s solicitors):




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       i)       the Existing Facilities Agreement made between SUSHI and others dated 5
                August 2016;


       ii)      the amendment agreement between SEAG and J.P. Morgan Europe Limited
                in relation to the Existing Facilities Agreement dated 10 August 2016;


       iii)     the Letter of Undertaking from SEAG and SIHNV to the Lenders (as defined
                in that letter) dated 6 May 2018 and Lucid Agency Services Limited as the
                Agent, which among other things, amended the terms of the Existing
                Facilities Agreement; and


       iv)      pages 1-8 of the group structure chart exhibited at Tab 2 of exhibit PD1 to
                the first witness statement of Philip Dieperink dated 19 October 2018,


       such documents to be placed on the Court file, for ease of identification, in an
       envelope marked “Confidential – sealed against inspection save with permission of
       the Court”.




The Court sent this order and sealed copies for service to:


Linklaters LLP, One Silk Street, London EC2Y 8HQ.


(Ref: Richard Hodgson/Francesca Amey)




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